Case 3:21-cv-00232-RGJ Document 36 Filed 12/28/21 Page 1 of 4 PageID #: 1582




                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY

 KENA MOORE, TIMOTHY K.                         )
 SWEENEY, RUSSEL A. HOHMAN,                     )
 SUSAN M. SMITH and VERONICA                    )
 CARGILL, individually and on behalf of all     )
 others similarly situated,                     ) CIVIL ACTION NO.: 3:21-cv-232-RGJ
                                                )
                                Plaintiffs,     )
                                                )
                v.                              )
                                                )
 HUMANA INC., THE BOARD OF                      )
 DIRECTORS OF HUMANA INC., THE                  )
 HUMANA RETIREMENT PLANS                        )
 COMMITTEE and JOHN DOES 1-30.                  )
                                                )
                                Defendants.     )

    PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
 PLAINTIFFS’ OPPOSITION TO MOTION OF THE CHAMBER OF COMMERCE OF
             THE UNITED STATES OF AMERICA FOR LEAVE TO
                    PARTICIPATE AS AMICUS CURIAE

       Plaintiffs, Kena Moore, Timothy K. Sweeney, Russell A. Hohman, Susan M. Smith and

Veronica Cargill (“Plaintiffs”), by and through their undersigned counsel, respectfully submit this

Notice of Supplemental Authority concerning the recent decision of In re American National Red

Cross ERISA Litig., No. 1:21-cv-00541-EGS, Minute Order (D.D.C. Dec. 7, 2021) (attached hereto

as Exhibit A), which is an analogous ERISA matter.

       In American Red Cross the Chamber of Commerce of the United States of America

(“Chamber”) moved to file an almost identical brief of amicus curiae in support of defendants’

motion to dismiss. The court determined “it is within the discretion of the Court to determine the

fact, extent, and manner of participation by the amicus.” American Red Cross, No. 1:21-cv-00541-

EGS, Minute Order (citing United States v. Microsoft Corp., No. 981232, 2002 WL 319366, at *2

(D.D.C. 2002)). The court denied the Chamber’s motion and reasoned:
Case 3:21-cv-00232-RGJ Document 36 Filed 12/28/21 Page 2 of 4 PageID #: 1583




                 An amicus brief should normally be allowed when a party is not
                represented competently or is not represented at all, when the
                amicus has an interest in some other case that may be affected by
                the decision in the present case (though not enough affected to
                entitle the amicus to intervene and become a party in the present
                case), or when the amicus has unique information or perspective that
                can help the court beyond the help that the lawyers for the parties
                are able to provide. Otherwise, leave to file an amicus curiae brief
                should be denied.

American Red Cross, No. 1:21-cv-00541-EGS, Minute Order (citing Jin v. Ministry of State Sec.,

557 F. Supp. 2d 131, 137 (D.D.C. 2008) (quoting Ryan v. Commodity Futures Trading Comm'n,

125 F.3d 1062, 1064 (7th Cir. 1997))). The court concluded “(1) movants have not shown that a

party is not adequately represented, and (2) several of movant's arguments are duplicative of those

in the defendants' motion to dismiss.” American Red Cross, No. 1:21-cv-00541-EGS, Minute

Order.

         Here, the Chamber’s proposed brief of amicus curiae is almost identical to the brief it

submitted in American Red Cross and rehashes the same, duplicative arguments as those in

Defendants’ motion to dismiss. The Chamber has not provided any indication that Defendants in

this matter are not adequately represented by competent counsel.

         For these reasons, Plaintiffs respectfully submit that the court’s decision in American Red

Cross supports denial of Defendants’ motion to dismiss in its entirety.


Dated: December 28, 2021                      Respectfully submitted,

                                              CAPOZZI ADLER, P.C.

                                              /s/ Mark K. Gyandoh
                                              Mark K. Gyandoh
                                              Gabrielle Kelerchian
                                              312 Old Lancaster Road
                                              Merion Station, PA 19066
                                              Telephone: (610) 890-0200
                                              Facsimile: (717) 233-4103
Case 3:21-cv-00232-RGJ Document 36 Filed 12/28/21 Page 3 of 4 PageID #: 1584




                                   Email: markg@capozziadler.com
                                         gabriellek@capozziadler.com

                                   Donald R. Reavey
                                   2933 North Front Street
                                   Harrisburg, PA 17110
                                   Telephone: (717) 233-4101
                                   Facsimile: (717) 233-4103
                                   Email: donr@capozziadler.com

                                   KIRK LAW FIRM

                                   /s/_Phillip Blair
                                   Phillip Blair, Esquire
                                   KY Bar ID # 94596
                                   P.O. Box 339
                                   888 US 23 South
                                   Paintsville, KY 41240
                                   Phillip.blair@kirklawfirm.net
                                   Telephone: (606) 297-5888
                                   Facsimile: (606) 297-5870

                                   Counsel for Plaintiffs and the Putative Class
Case 3:21-cv-00232-RGJ Document 36 Filed 12/28/21 Page 4 of 4 PageID #: 1585




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 28, 2021, a true and correct copy of the foregoing

document was filed with the Court utilizing its ECF system, which will send notice of such filing

to all counsel of record.


                                              By: /s/ Mark K. Gyandoh
                                                  Mark K. Gyandoh, Esq.
